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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
               Plaintiff,               )
                                        )
         vs.                            )         Case No. 4:18 CR 975 CDP
                                        )
DUSTIN BOONE, et al.,                   )
                                        )
               Defendants.              )

                                    ORDER

      IT IS HEREBY ORDERED that this case is transferred from U.S. District

Judge Catherine D. Perry to U.S. District E. Richard Webber as to all defendants.

      IT IS FURTHER ORDERED that that a final pretrial hearing remains

set for Monday, May 24, 2021 at 10:00 a.m. in Courtroom 3 North.

      IT IS FURTHER ORDERED that the Jury Trial on Count One as to

defendant Dustin Boone and Count Two as to defendant Christopher Myers

remains set for Monday, June 7, 2021 at 8:30 a.m. in Courtroom 3 North.




                                     ______________________________
                                     RODNEY W. SIPPEL
                                     CHIEF UNITED STATES DISTRICT JUDGE


Dated this 12th day of May, 2021
